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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT


OCTAVIOUS WILLIAMS,                             :
    Plaintiff,                                  :               CIVIL CASE NO.
                                                :               3:16-cv-177(JCH)
        v.                                      :
                                                :
CITY OF WATERBURY, et al.,                      :               JANUARY 5, 2018
      Defendants.                               :


      RULING RE: MOTIONS FOR SUMMARY JUDGMENT (DOC NOS. 22 & 23)

        The plaintiff, Octavious Williams (“Williams”), currently incarcerated at Cheshire

Correctional Institution in Cheshire, Connecticut, commenced this action by Complaint

filed pro se in state court. See generally Compl. (Doc. No. 35-1).1 Defendant Ryan

Cubells (“Cubells”) removed the case to federal district court. See Notice of Removal

(Doc. No. 1). The defendants are the City of Waterbury (“the City”), Cubells, Martin

Scanlon (“Scanlon”), Robert Raad (“Raad”), Waterbury Police Officers Ocasio

(“Ocasio”) and Marano (“Marano”), Waterbury Police Sergeants J. Knapp (“Knapp”) and

Napiello (“Napiello”), Waterbury Police Lieutenant Cappozzi (“Cappozzi”), and

Waterbury Police Detective Brownell (“Brownell”).

        Two Motions for Summary Judgment are currently pending before the court: one

filed by defendant Cubells (Doc. No. 22), and the other filed by all other defendants

(“group defendants”) (Doc. No. 23). Williams, proceeding pro se, opposes both pending

Motions with a document styled “Pro se litigant opposing motion for summary judgment


        1
          The court notes that when this case was removed to federal court, the Complaint (as well as the
Notice of Removal) were scanned incorrectly such that a portion of each page is missing. See Notice of
Removal (Doc. No. 1). In order to review a complete version of the Complaint, the court accessed the
Complaint on the Connecticut state court docket and filed it on the docket for this case as document
number 35-1.

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in requirement of Local Rule 56(b)” and referred to herein as “Plaintiff’s Response.”

See Plaintiff’s Response (“Pl.’s Response”) (Doc. No. 28).

       For the reasons that follow, the defendants’ Motions for Summary Judgment

(Doc. Nos. 22 & 23) are granted as to Counts One through Eight and Thirteen. Counts

Nine through Twelve will proceed against defendant Raad.

I.     STANDARD OF REVIEW

       On a motion for summary judgment, the burden is on the moving party to

establish that there are no genuine issues of material fact in dispute and that the party is

entitled to judgment as a matter of law. See Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 256 (1986); Wright v. N.Y. State Dep’t of Corr., 831 F.3d 64, 71–72 (2d Cir. 2016).

Once the moving party has met its burden, in order to defeat the motion, the nonmoving

party “must set forth specific facts showing that there is a genuine issue for trial,”

Anderson, 477 U.S. at 256, and present “such proof as would allow a reasonable juror

to return a verdict in [its] favor,” Graham v. Long Island R.R., 230 F.3d 34, 38 (2d Cir.

2000). “An issue of fact is genuine and material if the evidence is such that a

reasonable jury could return a verdict for the nonmoving party.” Cross Commerce

Media, Inc. v. Collective, Inc., 841 F.3d 155, 162 (2d Cir. 2016).

       In assessing the record to determine whether there are disputed issues of

material fact, the trial court must “resolve all ambiguities and draw all inferences in favor

of the party against whom summary judgment is sought.” LaFond v. Gen. Physics

Servs. Corp., 50 F.3d 165, 175 (2d Cir. 1995). “Where it is clear that no rational finder

of fact ‘could find in favor of the nonmoving party because the evidence to support its

case is so slight,’ summary judgment should be granted.” F.D.I.C. v. Great Am. Ins.

Co., 607 F.3d 288, 292 (2d Cir. 2010) (quoting Gallo v. Prudential Residential Servs.,
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Ltd. P’ship, 22 F.3d 1219, 1224 (2d Cir. 1994)). On the other hand, where “reasonable

minds could differ as to the import of the evidence,” the question must be left to the

finder of fact. Cortes v. MTA N.Y. City Transit, 802 F.3d 226, 230 (2d Cir. 2015)

(quoting R.B. Ventures, Ltd. v. Shane, 112 F.3d 54, 59 (2d Cir. 1997)).

II.     FACTS2

        At the time of the events in question, December 7, 2013, Williams was a resident

of Waterbury, Connecticut. See Group Defendants’ Local Rule 56(a)(1) Statement of

Facts (“Group Statement of Facts”) (Doc. No. 23-2) at ¶ 1. Cubells, Scanlon, Raad,

Marano, and Ocasio3 were employed as Waterbury police officers; Knapp and Brownell

as Waterbury police detectives; and Cappozzi and Napiello as Waterbury police

sergeants. Id. at ¶¶ 2–10.

        On December 7, 2013, Ocasio and Marano were dispatched to investigate an

armed home invasion on Coe Street in Waterbury. Id. at ¶¶ 11, 47. After interviewing

three victims, they broadcast a description of three men who were wanted as suspects



        2  The facts are based on the group defendants’ Local Rule 56(a)(1) Statement of Facts and the
exhibits submitted by all parties. Local Rule 56(a)(2) requires the party opposing summary judgment to
submit a Local Rule 56(a)(2) Statement which contains separately numbered paragraphs corresponding
to the Local Rule 56(a)(1) Statement and indicates whether the opposing party admits or denies the facts
set forth by the moving party. Each admission or denial must include a citation to an affidavit or other
admissible evidence. In addition, the opposing party must submit a list of disputed factual issues. D.
Conn. L. Civ. R. 56(a)(2) and 56(a)(3). Although the defendants informed Williams of this requirement,
see Notice to Pro Se Litigant (Doc. No. 23-4), Williams has not submitted a Local Rule 56(a)(2) Statement
in the required form. His statement does not respond to each of the defendants’ allegations, in the form
required by Rule 56 or otherwise, and does not include a citation for each statement. Accordingly, the
defendants’ facts are deemed admitted. See D. Conn. L. Civ. R. 56(a)(1) (“Each material fact set forth in
the Local Rule 56(a)(1) Statement and supported by the evidence will be deemed admitted (solely for
purposes of the motion) unless such fact is controverted by the Local Rule 56(a)(2) Statement required to
be filed and served by the opposing party in accordance with this Local Rule, or the Court sustains an
objection to the fact.”).
        3
           Ocasio states in his Affidavit that he became a Waterbury Police Office on October 14, 2014.
Affidavit of Ocasio (Doc. No. 23-2) at 14. The court assumes that this is a typographical error because, in
the next paragraph, Ocasio states that he was on duty with Officer Marano on December 7, 2013, nearly
a year earlier. Id.

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in connection with the home invasion. Id. at ¶¶ 11, 48–49. The broadcast indicated that

two of the suspects were driving a BMW with out-of-state license plates and that the

third had fled in a dark-colored Jeep Grand Cherokee with partial license plate number

ZPS. Id. at ¶ 13.

       At approximately 7:45 p.m., Cubells and Scanlon were patrolling in the area of

Ridgewood Street when they saw a black BMW with New York license plate GJB4242

and a black Jeep Grand Cherokee with Connecticut license plate 996ZPS parked on

Ridgewood Street. Id. at ¶ 14. Both vehicles were unoccupied. Id. Cubells and

Scanlon parked their police cruiser out of sight and moved to a position where they

could see anyone entering the vehicles. Id. at ¶ 15. Knapp assigned several police

units around the area to intercept the vehicles if they attempted to leave. Id. at ¶ 17.

Ocasio and Marano were two of the officers assigned to establish the perimeter. Id. at

¶¶ 50–51.

       At approximately 8:35 p.m., two men entered the vehicles and prepared to drive

away. Affidavit of Ryan Cubells (Doc. No. 22-4) at ¶ 10. Edward Blancaneauex

(“Blancaneauex”) was in the BMW which fled toward Hillside Avenue. Williams was in

the Jeep which fled toward Central Avenue. Group Defendants’ Statement of Facts at ¶

16. Cubells and Scanlon ordered Blancaneauex to stop and get out of the vehicle. Id.

at ¶ 18. He did not comply with the order. Id. at ¶ 19. Instead, Blancaneauex drove the

BMW toward Cubells and Scanlon, grazing Cubells and causing him to suffer an injury

to his left leg. Id. at ¶ 20–21. Scanlon discharged three rounds at the BMW, hitting the

car but not the driver. Id. at ¶ 23–24. Scanlon did not fire at the Jeep Grand Cherokee.

Id. Cubells notified the police of the direction taken by the fleeing vehicles. Id. at ¶ 28.



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Scanlon advised dispatch that Cubells had been injured by the BMW. Id. at ¶ 29. A

use of force investigation following this incident confirmed that Scanlon had discharged

three rounds from his revolver into the BMW and that Cubells had not fired his service

weapon on December 7, 2013. Id. at ¶¶ 44–45.

       Upon hearing that shots had been fired, Knapp went to Ridgewood Street to

secure the scene. Id. at ¶ 30. Knapp then drove Cubells from the scene to St. Mary’s

Hospital. Id. at ¶ 31.

       Police officers, including Ocasio, Marano, and Raad, pursued Williams as he

drove away from the Ridgewood Street location until he crashed into a parked and

unoccupied car and two police cruisers on Central Avenue in Waterbury. Id. at ¶¶ 32,

52. At that point, Ocasio and Marano left their police cruiser to determine whether there

were any passengers in the Jeep Grand Cherokee. Id. at ¶¶ 52–53. They determined

that there were no passengers. Id. at ¶ 52. By this time there were many other officers

on the scene.

       Raad approached the driver’s side of the Jeep Grand Cherokee as Williams

exited the vehicle. Id. at ¶ 74. Raad ordered Williams to get on the ground but Williams

refused. Id. at ¶ 75. After several refusals, Raad brought Williams to the ground by

kicking him in the shin and sweeping his legs. Id. Once Williams was on the ground,

Raad repeatedly ordered him to show his hands. Id. at ¶ 76. Williams refused, and

began tucking his hands under his waist while he was lying on the ground. Id. Raad

struck Williams on the left side of his face and the side of his body. Id. Eventually,

Williams moved his hands so that they were visible. Id. at 78. Raad then placed

Williams under arrest, and Williams was taken to St. Mary’s Hospital for his injuries. Id.



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Following the incident, Raad completed a Case Supplement Report and Response to

Resistance Form. Id. at ¶ 80.

        Cubells, Knapp, Scanlon, Napiello, Cappozzi, and Brownell were not present on

Central Avenue when Williams was apprehended.4 Id. at ¶ 34. Brownell was assigned

to assist in the investigation of, and obtain witness statements regarding, the incidents

in which Williams and Blancaneauex were suspects. Id. at ¶ 62. He did not receive this

assignment until after Blancaneauex and Williams had been arrested. Id. at ¶ 63.

        Ocasio prepared a report of the incident, after which the investigation was

transferred to Napiello who completed a supplementary report which includes reports of

Raad, Ocasio and Officer Tiso. Id. at ¶ 66. After the report was completed, Cappozzi,

Napiello’s supervisor, reviewed and approved the report. Id. at ¶ 67. Cappozzi was

present at Central Avenue but did not arrive there until after Williams had been arrested,

handcuffed, and placed in the back of a police cruiser. Id. at ¶ 69.

        Whenever a police officer uses force, the circumstances regarding the use of

force are reviewed by the officer’s supervisors through the chain of command up to the

Chief of Police. Id. at ¶¶ 83–85. In addition, the Internal Affairs Division investigates

citizen complaints against police officers. Id. at ¶ 86. Officers receive in-service and roll

call training. Id. at ¶ 107. All police officers are subject to supervision to ensure policies

and procedures are followed. Id. at ¶ 105. All incidents are reviewed by supervisors or



        4
           The Group Statement of Facts states that Ocasio and Marano were not present on Central
Avenue. Group Statement of Facts (Doc. No. 23-3) at ¶ 34. This fact is directly contradicted by the
Affidavits of Ocasio and Marano who state that they checked the Jeep Grand Cherokee when it stopped
after the crash on Central Avenue, see Affidavit of Ocasio (Doc. No. 23-2) at 15, Affidavit of Marano (Doc.
No. 23-2) at 20, as well as the Group Statement of Facts itself, see Group Statement of Facts (Doc. No.
23-3) at ¶ 53.



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the Internal Affairs Division. Id. at ¶¶ 91–93. Discipline is imposed when required. Id.

at ¶ 103–04, 108–12.

       All defendants have received training in the use of force, search and seizure, and

probable cause for arrest at the Police Academy and as part of their recertification

process after graduating from the Police Academy. Id. at ¶ 120. Prior to December 7,

2013, the Waterbury Police Department was not aware that any defendant had a

propensity to use excessive force in exercising his official duties or to violate

departmental rules and policies or the constitutional rights of any person. Id. at ¶¶ 133–

34.

III.   DISCUSSION

       Williams’s Complaint alleges thirteen counts against one or more of the

defendants. See generally Compl. (Doc. No. 35-1). Counts Ones through Four, against

all defendants, are based on Williams’s assertions that he was falsely arrested and

imprisoned. See Compl. at 4–5. Specifically, Count One alleges false imprisonment

pursuant to the Fourth Amendment; Count Two alleges common law false arrest; Count

Three alleges common law false imprisonment; and Count Four alleges intentional

infliction of emotional distress (“IIED”) resulting from Williams’s false arrest and / or

imprisonment. Id.

       Counts Five through Eight are alleged against Scanlon and Cubells, and arise

from Williams’s allegations that Cubells fired shots at Williams’s vehicle. Id. at 5–6.

Count Five alleges Fourth Amendment excessive force; Count Six alleges common law

assault; Count Seven alleges common law battery; and Count Eight alleges common

law IIED resulting from the shots allegedly fired by Cubells. Id.

       Counts Nine through Twelve are alleged against Raad, and arise from Williams’s
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allegations that Raad assaulted him in the course of the arrest on Central Avenue. Id.

at 6–7. Count Nine alleges Fourth Amendment excessive force; Count Ten alleges

common law assault; Count Eleven alleges common law battery; and Count Twelve

alleges IIED. Id.

       Finally, Count Thirteen is alleged against the City of Waterbury. Id. at 7. Count

Thirteen alleges that the City of Waterbury proximately caused the unconstitutional

behavior of all individual defendants by failing to adequately train and supervise them.

Id.

       As a threshold matter, the court notes that Williams’s Response to the Motions

for Summary Judgment filed by Cubells and the group defendants neither cites to nor

attaches evidence that supports his version of events. Williams’s opposition includes a

four-page document styled as a “Pro se litigant opposing motion for summary judgment

in requirement of Local Rule 56(b),” which states that “Plaintiff Williams totally disagrees

with the defendant’s version of the facts” and contains a list of exhibits described as

exhibits that “Plaintiff Williams will be citing.” Pl.’s Response (Doc. No. 28) at 1, 2–3.

The exhibits listed are all exhibits submitted by the defendants, with the exception of

what Williams refers to as “the attached exhibits plaintiff enclosed for court notes.” Id. at

3. The attached exhibits to which Williams refers include: (1) a newspaper article about

Cubells and Scanlon published on May 11, 2015, Exh. A-1 (Doc. No. 28-3) at 12–14; (2)

a letter from Susan Hatfield, Assistant State’s Attorney, to Christopher Mattel, Assistant

U.S. Attorney, dated July 15, 2015, which notes that the U.S. Attorney’s Office is

currently investigating members of the Waterbury police department and requests all

“impeachment material” in his possession relevant to “any member of the Waterbury



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Police Department,” Exh. 1-B (Doc. No. 28-3) at 15–16; (3) two documents entitled

“Waterbury Police Department Supplemental Report,” the first of which was authored by

a Detective Flynn and describes evidence received from an ankle monitor that Williams

was apparently wearing on the night of the arrest in question (which places Williams at

approximately the locations alleged), the second of which states that nineteen pieces of

evidence relevant to the burglary at issue were taken from a BMW with license plate

number GJB4242, Exh. 1-C (Doc. No. 28-3) at 17–19; and (4) an inmate request form

submitted by Williams to a “Ms. Dixon” expressing problems with access to a law library

and other legal resources, Exh. 1 (Doc. No. 28-3) at 20–22.5 For the reasons

articulated with respect to each Count below, none of this evidence constitutes evidence

upon which a rational fact finder could find in favor of Williams.

        A.      False Arrest and Imprisonment Claims (Counts One, Two, and Three)

        Counts One, Two, and Three allege false arrest and false imprisonment against

all defendants pursuant to Connecticut common law and the Fourth Amendment of the

United States Constitution. As a threshold matter, the court notes that, although

Williams styles false arrest and false imprisonment as separate counts, see Compl. at 4,

under both common law and title 42, section 1983 of the United States Code, false

arrest and false imprisonment “overlap; the former is a species of the latter.” Wallace v.

Kato, 549 U.S. 384, 388 (2007); see also Singer v. Fulton Cnty. Sheriff, 63 F.3d 110,

118 (2d Cir. 1995) (“The common law tort of false arrest is a species of false




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          Williams submitted two documents styled as “Opposition to Motion for Summary Judgment,”
which vary slightly but make substantially the same arguments. See Opposition (Doc. No. 28-2) and
Opposition (Doc. No. 28-3). Williams included the above-described exhibits with both documents labeled
“Opposition.” The court refers to Williams’s opposition documents generally as “Plaintiff’s Response” and
includes docket numbers throughout for the sake of clarity.

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imprisonment . . . .”). The court therefore treats the allegations of false arrest and false

imprisonment as one claim, which the court refers to here as false arrest.

        The Connecticut common law tort of false arrest “is the unlawful restraint by one

person of the physical liberty of another.” Green v. Donroe, 186 Conn. 265, 267 (1982).

In analyzing Fourth Amendment false arrest claims, federal courts typically look to the

law of the state in which the arrest occurred. See Davis v. Rodriguez, 364 F.3d 424,

433 (2d Cir. 2004). In order to prevail on a false arrest claim in Connecticut, a plaintiff

must show that the charges underlying the arrest terminated in his favor. See Roesch

v. Otarola, 980 F.2d 850, 853–54 (2d Cir. 1992); Miles v. City of Hartford, 445 Fed.

App’x 379, 383 (2d Cir. 2011) (noting that, although favorable termination is not an

element of false arrest under New York common law, it is an element of false arrest

under Connecticut common law and, as a result, an element of section 1983 actions

arising from arrests in Connecticut); cf. Weyant v. Okst, 101 F.3d 845, 853–54 (2d Cir.

1996) (distinguishing Roesch to hold that favorable termination was not required where

“there was effectively no prosecution at all”).

        Here, Williams conceded in his opposition to the Motions for Summary

Judgment, dated May 4, 2017, that the criminal charges arising from the arrest at issue

were still pending. See Pl.’s Response (Doc. No. 28-1) at 2. On May 8, 2017, Williams

entered a plea of guilty to a charge of Burglary in the First Degree, in violation of

Connecticut General Statutes section 53a-101(a)(3), for the events that occurred on

December 7, 2013.6 Because the underlying criminal charges were resolved by a plea



        6
          The court accessed the website of the State of Connecticut Judicial Branch to obtain this
information, which is available at
http://www.jud2.ct.gov/crdockets/CaseDetailDisp.aspx?source=Pending&Key=052593e9-f028-45c0-

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of guilty, Williams’s false arrest claims fail as a matter of law. See, e.g., DeLaurentis v.

City of New Haven, 220 Conn. 225, 250 (1991) (explaining that “favorable termination”

is limited to situations in which “the underlying proceeding was abandoned or withdrawn

without consideration, that is, withdrawn without either a plea bargain or a settlement

favoring the party originating the action”). Therefore, the defendants’ Motions for

Summary Judgment (Doc. Nos. 22 & 23) are granted with respect to Counts One

through Three.

        B.      Intentional Infliction of Emotional Distress re: Arrest (Count Four)

        In Count Four, Williams alleges intentional infliction of emotional distress (“IIED”)

against all the individual defendants based on his arrest. Compl. at 4–5. To establish

liability for IIED, Williams must show: “(1) that the [defendants] intended to inflict

emotional distress or that [they] knew or should have known that emotional distress was

the likely result of [their] conduct; (2) that the conduct was extreme and outrageous; (3)

that the defendant[s’] conduct was the cause of the plaintiff’s distress; and (4) that the

emotional distress sustained by the plaintiff was severe.” Perez-Dickson v. City of

Bridgeport, 304 Conn. 483, 526–27 (2012) (quoting Appleton v. Bd. Of Educ., 254

Conn. 205, 210 (2000)).

        The bar for an IIED claim is high. As the Connecticut Supreme Court has stated,

in order to satisfy the IIED standard the conduct in question must be “so outrageous in

character, and so extreme in degree, as to go beyond all possible bounds of decency,

and to be regarded as atrocious, and utterly intolerable in a civilized community.”




92ad-d04ff5a225a6. See Bristol v. Nassau Cnty., 685 Fed. App’x 26, 28 (2d Cir. 2017) (court properly
took judicial notice of state court criminal proceedings which were “self-authenticating, publicly available
records”).

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Appleton, 254 Conn. at 211 (quoting 1 Restt. (Second), Torts § 45, cmt. (d), at 73

(1965)).

       With respect to the second element of the IIED standard, whether the

defendants’ conduct was “extreme and outrageous,” Williams alleges only that he was

guilty of no crime on December 7, 2013, but was nevertheless arrested and imprisoned.

See Compl. at 2, 4. The court has already determined that Williams’s false arrest

claims fail as a matter of law. See supra Section IV(B). The court therefore concludes

that, since Williams’s arrest and imprisonment were lawful, arresting Williams was not

“extreme and outrageous” conduct, as is required to satisfy the IIED standard. See,

e.g., Sepulveda v. City of New York, No. 01 Civ. 3054 (DC), 2003 WL 21673626, at *6

(S.D.N.Y. July 17, 2003) (concluding that IIED claim based on arrest was meritless

where defendants were entitled to summary judgment on false arrest claim).

Furthermore, Williams has neither alleged facts, nor presented any evidence to show,

that the defendants’ actions with respect to the arrest were otherwise “extreme and

outrageous.”7 The defendants’ Motions for Summary Judgment (Doc. Nos. 22 & 23) are

therefore granted with respect to Count Four.

       C.       Counts Related to Cubells’s Alleged Shooting at Williams’s Car (Counts
                Five through Eight)

       In his Complaint, Williams alleges that Cubells fired three shots at Williams’s car

while Williams was inside “in an attempt to kill or gravely injure him.” Compl. at 2, 5.

Williams further alleges that Cubells withheld the fact that he had fired shots at

Williams’s car in his sworn police report. Id. at 2–3. On the basis of these factual



       7
         Indeed, as the defendants point out in their Memoranda, Williams has not even provided
evidence that any of the officers other than Raad actually arrested Williams.

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allegations, Williams brings a Fourth Amendment excessive force claim (Count Five), a

common law assault claim (Count Six), a common law battery claim (Count Seven), and

an IIED claim (Count Eight) against defendants Cubells and Scanlon. See Compl. at 5–

6. Both Cubells and Scanlon argue that they are entitled to summary judgment on

Counts Five through Eight because there is no evidence suggesting that either fired

shots at Williams’s vehicle. See Cubells Mem. at 11, 15; Group Mem. at 11 (“Only

Scanlon discharged his weapon and that was at the BMW and not the Jeep operated by

Williams.”).

       “When opposing parties tell two different stories, one of which is blatantly

contradicted by the record, so that no reasonable jury could believe it, a court should

not adopt that version of the facts for purposes of ruling on a motion for summary

judgment.” Scott v. Harris, 550 U.S. 372, 380 (2007) (internal quotation marks

omitted)). Here, Scanlon has sworn in an Affidavit and in a witness statement attached

as an Exhibit to his Affidavit that he fired three shots at the BMW and that neither he nor

Cubells fired at the Jeep Grand Cherokee. See Affidavit of Scanlon (Doc. No. 22-5) at

4, 47. Cubells has also sworn in an Affidavit that neither he nor Scanlon discharged a

firearm at the Jeep Grand Cherokee and that Scanlon did fire shots at the BMW. See

Affidavit of Cubells (Doc. No. 22-4) at ¶¶ 18–21. Other evidence supports this

conclusion. A witness living in one of the houses on Ridgewood Street stated that she

heard only three shots fired. See Witness Statement of Anna Medina (Doc. No. 22-9) at

2. The defendants also submitted an investigative report stating that surveillance video

from one of the houses on Ridgewood Street showed Scanlon firing three shots at the

BMW. See Investigative Report (Doc. No. 22-6) at 14.



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       Williams, on the other hand, has submitted no evidence to support his allegation

that Cubells fired shots at his vehicle. Instead, Williams’s unsworn Response is focused

on attacking the credibility of the defendants. See, e.g., Pl.’s Response (Doc. No. 28-2)

at 5 (“Both Cubells and Scanlon have a great deal of inconsistent statement[s] about

said incident.”); id. at 6 (describing inconsistent statements by Scanlon that are

unrelated to the use of force). It is well settled that general attacks on credibility are

insufficient to withstand a properly supported motion for summary judgment. See

Crawford-El v. Britton, 523 U.S. 574, 600 (1998) (“[I]f the [moving party] has made a

properly supported motion [for summary judgment], the plaintiff may not respond simply

with general attacks upon the defendant’s credibility, but rather must identify affirmative

evidence from which a jury could find that the plaintiff has carried his or her burden

. . . .”); McCullough v. Wyandanch Union Free Sch. Dist., 187 F.3d 272, 280 (2d Cir.

1999) (“[G]eneral attacks upon the defendant’s credibility are not sufficient to defeat a

properly supported summary judgment motion.”).

       Williams has not offered any admissible evidence upon which a reasonable jury

could credit Williams’s version of events. See Scott, 550 U.S. at 380. Therefore,

Williams has not created a genuine issue of material fact regarding Counts Five, Six,

Seven, or Eight, and the defendants’ Motions for Summary Judgment (Doc. Nos. 22 &

23) are granted with respect to those claims.

       D.     Counts Related to Raad’s Use of Force (Counts Nine through Twelve)

       In his Complaint, Williams alleges that Raad “viciously beat the plaintiff about the

head, face, neck, arms, hands, and ribs,” which broke Williams’s right arm in several

places and caused severe injuries to his face. Compl. at 3. Williams brings four counts

against Raad arising out of these allegations, including a claim of Fourth Amendment
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excessive force (Count Nine), common law assault (Count Ten), common law battery

(Count Eleven), and IIED (Count Twelve). Id. at 6–7.

       Although the Motion for Summary Judgment filed by the group of defendants is

styled as a Motion for Summary Judgment on all claims as to all defendants, see Group

Defendants’ Motion for Summary Judgment (Doc. No. 23) at 1 and Group Defendants’

Memorandum at 5–6, in the portion of the Memorandum of Law in Support of the Motion

for Summary Judgment devoted to Counts Nine, Ten, and Eleven, the defendants do

not appear to be moving for summary judgment with respect to Raad.8 For example, in

the portion of the Memorandum devoted to Williams’s excessive force claims, the group

defendants argue that “there is no credible evidence that Scanlon, Ocasio, Marano,

Knapp, Napillo, Capozzi, [or] Brownell utilized unreasonable force upon the plaintiff.”

Def.’s Mem. at 12. The defendants acknowledge that “Officer Raad admits that he

engaged in a physical altercation with Williams as set forth in his Case Supplemental

Report and Response to Resistance Form.” Id. at 13. In the IIED section of the

Defendants’ Memorandum, the defendants address Counts Four (IIED against all

defendants) and Eight (IIED against Scanlon), but make no mention of Count Twelve

(IIED against Raad). Id. at 31–35. Finally, in the section of the Defendants’

Memorandum devoted to claims of assault and battery, the defendants acknowledge

that Williams has alleged claims of assault (Count Ten) and battery (Count Eleven)



       8
          The defendants do argue, at some length, that all the defendants except Raad are entitled to
summary judgment on Counts Nine, Ten, and Eleven. However, the Complaint clearly alleges Counts
Nine, Ten, and Eleven against only Raad. Elsewhere, Williams argues that Raad was not the only officer
who attacked him. This representation, however, neither converts his claims against Raad to claims
against more defendants, nor does he name the other officers who allegedly assaulted him. In short,
Williams has neither alleged nor supported that any other defendant assaulted him in the course of his
arrest on December 7, 2013. The court therefore does not reach the defendants’ arguments with respect
to the defendants other than Raad except to note that they are superfluous.

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against Raad. Id. at 35. The defendants do not move for summary judgment as to

these claims. Id. at 35–36 (moving for summary judgment as to Scanlon on Counts Six

and Seven).

         In short, despite the defendants’ general request for summary judgment on all

counts, the substance of their Memorandum fails to demonstrate an absence of material

issues of disputed fact as to Counts Nine, Ten, Eleven, or Twelve. Therefore, to the

extent that the group defendants move for summary judgment on Counts Nine through

Twelve as to Raad, their Motion is denied. Counts Nine, Ten, Eleven, and Twelve will

proceed against Raad.9

        E.       Municipal Liability as to City of Waterbury (Count Thirteen)

        In his Complaint, Williams alleges that the City of Waterbury (the “City”) failed to

train and supervise the individual defendants. Compl. at 7. The court, like the

defendants, construes this claim as a municipal liability claim pursuant to the doctrine

first articulated in Monell v. New York City Department of Social Services, 436 U.S. 658

(1978). Under Monell, a municipality is liable for the unconstitutional actions of one or

more of its employees if the actions were the result of a “policy or custom” of the


        9
           The group defendants devote significant briefing to addressing a claim not raised by Williams,
namely a Fourth Amendment claim that defendants Ocasio, Marano, and Capozzi failed to intervene to
stop Raad from violating Williams’s constitutional rights. See Def.’s Mem. at 14–17 (noting that
“[a]lthough Williams does not specifically allege a failure to intervene, if officers had observed a violation
of his constitutional rights and had a reasonable opportunity to intervene, then a cause of action under
§1983 could be stated against one or more of such officers”). However, Williams clearly alleged Counts
Nine through Twelve against Raad alone. See Compl. at 6 (alleging Counts Nine through Twelve against
Raad); see also id. at 3 (alleging that Williams was assaulted by “[o]ne or more defendants, including
defendant Raad”). The court is mindful of Williams’s pro se status and the liberal interpretation to which
his pleadings are entitled. Nevertheless, the court has neither the authority nor the inclination to
extrapolate from the factual allegations all conceivable claims that Williams could have brought,
particularly at the summary judgment stage, especially when the plaintiff has come forward with no
evidence regarding any named defendant other than Raad. The court therefore does not address the
defendants’ arguments regarding a theoretical failure-to-intervene claim except to note that such a claim
was not raised by Williams. If the court is mistaken and a failure-to-intervene claim was raised, Williams
has not presented any evidence of which defendants failed to intervene.

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municipality. Id. at 694.

       To support liability for failure to train police officers, Williams must show that the

City’s “failure to train amounts to deliberate indifference to the rights of persons with

whom the police come into contact.” City of Canton v. Harris, 489 U.S. 378, 388 (1989).

The City’s actions must be a deliberate choice among several alternatives. Id. at 389.

In addition, Williams must identify a specific deficiency in the City’s training program that

is “closely related to the ultimate injury” and “actually caused” the violation of his

constitutional rights. Id. at 391. In other words, a plaintiff must proffer “evidence as to

the city’s training program and the way in which that program contributed to the

violation.” Amnesty Am. v. Town of W. Hartford, 361 F.3d 113, 127 n.8 (2d Cir. 2004).

In order to prove that a municipal defendant failed to adequately supervise its

employees, leading to the constitutional violation, a plaintiff must proffer evidence

tending to show “that a policymaking official had notice of a potentially serious problem

of unconstitutional conduct, such that the need for corrective action or supervision was

‘obvious,’ and the policymaker’s failure to investigate or rectify the situation evidences

deliberate indifference.” Id. at 128.

       The defendants have submitted copies of the curriculum from the police

academy regarding use of force and evidence that all the individual defendants had this

training both at the academy and during field training. Waterbury Police Department–

Basic Training Curriculum (Doc. No. 23-2) at 64–92; Affidavit of Ryan (“Ryan Aff.”) (Doc.

No. 23-2) at 40–42. All training programs undergo audits by the Police Officer

Standards and Training Council and have been found to exceed the Council’s

requirements. Ryan Aff. at ¶ 10. In addition, the defendants submit evidence of the



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Waterbury Police Department practice of reviewing citizen complaints and imposing

discipline and training when warranted. Affidavit of Covel (“Covel Aff.”) (Doc. No. 23-2)

at 32–38.

       The City denies any knowledge, prior to December 7, 2013, of facts suggesting

that any individual defendant had a propensity to use excessive force or violate

departmental rules, policies, or procedures thereby violating the constitutional rights of

any person. Covel Aff. at ¶¶ 37–38.

       The only evidence that Williams submitted to support his municipal liability claim

is a copy of a May 11, 2015, newspaper article describing alleged improper actions by

Cubells and Scanlon and noting that Cubells was fired by the City of Waterbury Chief of

Police after he was recorded making violently racist statements. Pl.’s Mem. Ex. A-1

(Doc. No. 28-2) at 13–14. However, the article itself states that information regarding

alleged improper conduct had not come to light until the previous year, that is, 2014.

Thus, the article does not show that the City was aware of improper police conduct in

December 2013. Furthermore, Williams has not provided any evidence indicating that

the Waterbury Police Department was or should have been aware of a propensity for

violence or other issues with any other named defendants, such as Raad. Finally,

Williams has neither alleged nor supported any specific flaws with the training and

supervision provided by the Waterbury Police Department.

       Absent any evidence suggesting that, prior to December 7, 2013, the City was

aware of improper conduct and failed to properly address this impropriety through

additional training or discipline, there is no basis for a claim against the City. Therefore,

the group defendants’ Motion for Summary Judgment (Doc. No. 23) is granted with



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respect to Count Thirteen.

       F.     Conspiracy Liability

       Williams does not allege any stand-alone claims of conspiracy liability. However,

in the factual allegations section of his Complaint, Williams asserts that “each

[defendant] conspired with each other such person to cause and cultivate the damages

described in this Complaint.” Compl. at 1–2 ¶ 4. He further asserts that the

“defendants conspired to violate the constitutional rights of the plaintiff and others by

making false arrests based on shoddy and falsified evidence; misrepresentations of

material fact in sworn police affidavits; the employment of excessive force; and other

unconstitutional undertakings.” Id. at 2 ¶ 7. Subsequently, in the legal claims section of

his Complaint, Williams incorporates paragraph seven of his factual allegations by

reference in Counts One through Four. Id. at 4–5. That is the extent of his argument

with respect to conspiracy liability.

       Williams, proceeding pro se, does not identify a legal authority for his conspiracy

allegations. Claims of conspiracy to deprive a person of constitutional rights are

cognizable under both sections 1983 (“section 1983”) and, specifically for claims of

conspiracy to deprive a person of equal protection of the laws, 1985(3) (“section

1985(3)”) of title 42 of the United States Code.

       “To prove a § 1983 conspiracy, a plaintiff must show: (1) an agreement between

two or more state actors or between a state actor and a private entity; (2) to act in

concert to inflict an unconstitutional injury; and (3) an overt act done in furtherance of

that goal causing damages.” Pangburn v. Culbertson, 200 F.3d 65, 72 (2d Cir. 1999).

With respect to the first element, the plaintiff must show “some factual basis supporting

a meeting of the minds, such that the defendants entered into an agreement, express or
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tacit, to achieve the unlawful end.” Aho v. Anthony, 782 F. Supp. 2d 4, 7 (D. Conn.

2011) (quoting Arar v. Ashcroft, 585 F.3d 559, 569 (2d Cir. 2009)). This can be done

through circumstantial or direct evidence, as the Second Circuit has recognized that

“conspiracies are by their very nature secretive operations.” Pangburn, 200 F.3d at 72

(quoting Rounseville v. Zahl, 13 F.3d 625, 632 (2d Cir. 1994)).

        Section 1985(3) prohibits conspiracies “for the purpose of depriving . . . any

person or class of persons of the equal protections of the laws.” 42 U.S.C. § 1985(3).

To prove a section 1985(3) conspiracy, a plaintiff must show: “(1) a conspiracy; (2) for

the purpose of depriving, either directly or indirectly, any person or class of persons of

equal protections of the laws, or of equal privileges and immunities under the laws; (3)

an act in furtherance of the conspiracy; (4) whereby a person is either injured in his

person or property or deprived of any right of a citizen of the United States.” Mian v.

Donaldson, Lufkin & Jenrette Secs. Corp., 7 F.3d 1085, 1087 (2d Cir. 1993). In

addition, a Section 1985(3) conspiracy must be motivated by “some racial or perhaps

otherwise class-based, invidious discriminatory animus behind the conspirators’ action.”

United Bhd. Of Carpenters, Local 610 v. Scott, 463 U.S. 825, 828–29 (1983) (quoting

Griffin v. Breckenridge, 403 U.S. 88, 102 (1971)).

        In their Motions for Summary Judgment, defendant Cubells and the group

defendants argue that Williams’s claim for conspiracy liability fails on two independent

bases: (1) that the intracorporate conspiracy doctrine10 applies to them, see Group



         10
            “Under the ‘intracorporate conspiracy’ doctrine, the officers, agents and employees of a single
corporate entity, each acting within the scope of [his] employment, are legally incapable of conspiring
together.” Little v. City of New York, 487 F. Supp. 2d 426, 441–42 (S.D.N.Y. 2007) (quoting Salgada v.
City of New York, No. 00 Civ. 3667(RWS), 2001 WL 290051, at **8–9 (S.D.N.Y. March 26, 2001))
(applying intracorporate conspiracy doctrine to conspiracy claims under sections 1983 and 1985(3)). The
intracorporate conspiracy doctrine does not apply if any defendant had a personal stake in achieving the

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Defs.’ Mem. (Doc. No. 23-1) at 29–30; Cubells Mem. (Doc. No. 22-1) at 17, and (2) that

Williams cannot show that they entered into an agreement to violate his constitutional

rights, see Group Defs.’ Mem. at 30–31; Cubells Mem. at 17–18. Because the court

concludes that Williams has failed to show a material issue of disputed fact as to the

existence of a conspiracy, the court does not reach the merits of the defendants’

intracorporate conspiracy defense.

        Williams has submitted no evidence to support “a meeting of the minds . . . to

achieve [an] unlawful end.” Aho, 783 F. Supp. 2d. at 7. In his Complaint, as noted

above, he alleges that “defendants conspired to violate the constitutional rights of the

plaintiff and others by making false arrests based on shoddy and falsified evidence;

misrepresentations of material fact in sworn police affidavits; the employment of

excessive force; and other unconstitutional undertakings.” Compl. at 2 ¶ 7. In opposing

the Motion for Summary Judgment, however, Williams has failed to provide any

evidence suggesting that the defendants entered into an agreement to violate his

constitutional rights, pursuant to Section 1983 or Section 1985(3). He does direct the

court to a number of inconsistencies in the defendants’ affidavits and other sworn

statements. See, e.g., Pl.’s Response (Doc. No. 28-3) at 2–5. He also alleges that

some of the defendants’ sworn statements are inaccurate, such as statements that he

was interviewed at the scene of the arrest. See id. (Doc. No. 28-2) at 4 (asserting he

was only interviewed at the hospital). Williams does not, however, submit any evidence

to support his arguments, such as a sworn affidavit of his own.



corporate goal. Id. at 442. Although the Second Circuit has applied the intracorporate conspiracy
doctrine to bar section 1985(3) conspiracy claims, it has not yet applied the doctrine to section 1983
conspiracy claims. See Ali v. Connick, 136 F. Supp. 3d 270, 282 (E.D.N.Y. 2015).

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       In addition, as to section 1985(3) specifically, Williams has neither alleged nor

provided evidence tending to show that the defendants’ actions were motivated by his

race or any other characteristic protected by the equal protection clause. In his

opposition to the Motions for Summary Judgment, Williams alleges that certain officers

are racist, but also states that he “was conspired upon by said officers because of their

over zealousness and his past criminal history.” Pl.’s Response (Doc. No. 28-2) at 10.

In the absence of evidence upon which a reasonable jury could conclude that

discriminatory animus based on Williams’s race (or another protected characteristic)

motivated the defendants’ behavior, the defendants are entitled to summary judgment

as to any section 1985(3) conspiracy claim.

       In sum, to the extent that Williams is alleging conspiracy-based liability in addition

to individual liability, he has failed to submit evidence upon which a reasonable jury

could find that the defendants engaged in a conspiracy to violate his constitutional rights

pursuant to either section 1983 or section 1985(3). The court therefore grants the

defendants’ Motions for Summary Judgment (Doc. Nos. 22 & 23) as to conspiracy-

based liability for the claims alleged.

IV.    CONCLUSION

       The Motions for Summary Judgment (Doc. Nos. 22 & 23) are GRANTED as to

Counts One through Eight and Thirteen. To the extent that the group defendants’

Motion for Summary Judgment (Doc. No. 23) moves for summary judgment with respect

to Counts Nine through Twelve against Raad, their Motion is DENIED as to those

Counts. The case will proceed to trial on Counts Nine through Twelve against Raad.




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SO ORDERED.

    Dated this 5th day of January, 2018, at New Haven, Connecticut.



                                           /s/ Janet C. Hall
                                           Janet C. Hall
                                           United States District Judge




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